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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

PHILLIP C. ROGERS,

        Plaintiff,                                         Case No. 1:17-cv-561

v.                                                         Hon. Janet T. Neff

CHECK INTO CASH, INC.,

      Defendant.
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                                  NOTICE OF DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff files

this Notice of Dismissal, to dismiss this lawsuit, with prejudice.


Dated: June 30, 2017                                       /s/ Phillip C. Rogers
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